             Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 1 of 25




 1            CARPENTER, HAZLEWOOD,
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 2      1400 East Southern Avenue, Suite 400
             Tempe, Arizona 85282-5691
 3        P. 480-427-2800; F. 480-427-2801
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 4     (Jonathan D. Ebertshauser - SBN 031689)
          jonathane@carpenterhazlewood.com
 5        (Ember Van Vranken – SBN 035594)
           emberv@carpenterhazlewood.com
 6            BRITGLOBAL.IQDATA.51
                 Attorneys for Defendant
 7
 8                             UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA

10    Amanda N. Jernigan,                               CASE NO.: 4:21-cv-00307-SHR
11
12                         Plaintiff(s),
                                                         RULE 11 MOTION FOR SANCTIONS
13    vs.
14
15                                                      (Assigned to the Honorable Scott H. Rash)
      IQ Data International, Inc.,
16
17                         Defendant.

18
            Defendant I.Q. Data International, Inc. (“IQ Data”), by and through undersigned counsel,
19
20 moves this honorable Court for sanctions against Plaintiff, Amanda Jernigan (“Plaintiff”), and her
21 counsel, pursuant to Federal Rule of Civil Procedure 11 for filing a complaint that contains
22 allegations Plaintiff and counsel knew were unfounded. On July 30, 2021, Plaintiff filed her
23
   Complaint and served the same on IQ Data on August 23, 2021. IQ Data files this Rule 11 Motion
24


                                                    1
             Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 2 of 25




 1 for Sanctions (“Motion”) based on the complete lack of evidentiary support for the Complaint and
 2
     because the intent for filing the Complaint is to harass.
 3
                                               I.       Background
 4
 5          Plaintiff’s Complaint alleges violations of the Fair Debt Collection Practices Act

 6 (“FDCPA”). See Complaint at paragraph 1. Specifically, Plaintiff alleges that: a) IQ Data called
 7
     Plaintiff in excess of twenty (20) times after Plaintiff requested that the calls cease and b) that
 8
     during the calls Plaintiff indicated that she could not make payments at the time and c) IQ Data
 9
10 informed Plaintiff that she owed a balance of approximately $8,000.00. Id. at paragraphs 13-17.
11 However, prior to the Answer deadline, counsel for IQ Data contacted counsel for Plaintiff to
12
     present Fed. R. Civ. P. 11 concerns regarding the veracity of the Complaint. See Letter dated
13
     September 8, 2021, attached hereto as Exhibit A and incorporated herein by reference.
14
15          Thereafter, counsel for Plaintiff and counsel for IQ Data communicated through

16 telephone calls and email regarding the same. See emails attached hereto as Exhibit B and
17
     incorporated herein by reference. Specifically, counsel for IQ Data directly informed Plaintiff’s
18
     counsel that the allegations within the Complaint could not be supported by any evidence
19
20 because, during the three (3) brief calls that were connected between IQ Data and Plaintiff,
21 Plaintiff did not request that calls cease. See Exhibit A and Exhibit B. In fact, Plaintiff did not
22 say a single word on any call after identifying herself to IQ Data’s agent, and each call was less
23
   than thirty seconds in length. See call recordings included as an attachment to the document
24
25 labeled as Exhibit C, which is incorporated herein by reference.
26


                                                    2
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 1          Moreover, on September 13, 2021, counsel for IQ Data provided to counsel for Plaintiff
 2
     recordings of the three referenced calls between Plaintiff and IQ Data as proof that 1) Plaintiff
 3
     did not request that the calls cease, 2) fewer than twenty (20) calls were connected, and 3) IQ
 4
 5 Data identified the balance of the debt as $6,736.24. See Exhibit A; Exhibit B; and Exhibit C.
 6 Despite this obvious and undisputed proof that the claims alleged in the Complaint do not have
 7
     any evidentiary basis, Plaintiff and her counsel refused to voluntarily dismiss the Action before
 8
     an Answer was filed.
 9
10          Additionally, on October 4, 2021, IQ Data provided its Fed. R. Civ. P. 26 Initial

11 Disclosure Statement along with the Work Card relating to Plaintiff’s account, which includes a
12
     record of all of the calls placed by IQ Data in relation to Plaintiff. See the Work Card attached
13
     hereto as Exhibit D and incorporated herein by this reference. Furthermore, in conformance with
14
15 Fed. R. Civ. P. 11, IQ Data originally served this Motion on Plaintiff more than twenty-one (21)
16 days prior to filing this Motion with the Court. See Certificates of Service attached hereto as
17
     Exhibit E and incorporated herein by reference. Nevertheless, to date Plaintiff and her counsel
18
     continue to refuse to enter into a stipulated dismissal of the matter.
19
20                                          II.    Legal Argument

21      A. Fed. R. Civ. P. 11 sanctions are the appropriate remedy against Plaintiff and counsel
           for filing and advocating baseless pleadings.
22
23          Fed. R. Civ. P. 11 requires that “the claims . . . and other legal contentions are warranted

24 by [law],” and “the factual contentions have evidentiary support or, if specifically so identified,
25
     will likely have evidentiary support after a reasonable opportunity for further investigation or
26


                                                   3
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 1 discovery.” Fed. R. Civ. P. 11(b)(2) & (3). Fed. R. Civ. P. 11 also prohibits the filing of cases
 2
     “for any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase
 3
     the cost of litigation.” Fed. R. Civ. P. 11(b)(1). In the Ninth Circuit, a pleading is subject to
 4
 5 sanctions under Fed. R. Civ. P. 11 if: (1) “it is legally or factually baseless from an objective
 6 perspective,” and (2) “the attorney has not conducted a reasonable and competent inquiry before
 7
     signing and filing it.” Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir.2005) quoting Christian
 8
     v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir.2002) (internal quotations and citation omitted).
 9
10 Both a party and the party’s counsel (i.e., the attorneys and their firm) may be sanctioned for
11 violating Fed. R. Civ. P. 11. Fed. R. Civ. P. 11(c)(1).
12
            Plaintiff’s allegations in the Complaint that 1) during a call with IQ Data, Plaintiff
13
     requested that the calls cease; 2) in excess of twenty (20) calls were made by IQ Data after such
14
15 request; 3) Plaintiff communicated during a call that she could not make payments at that time;
16 and 4) IQ Data communicated that Plaintiff owed approximately $8,000.00, are all demonstrably
17
     false – and known to be false by Plaintiff and counsel. Moreover, IQ Data specifically provided
18
     evidence to counsel for Plaintiff to prove the falsity of the statements contained within the
19
20 Complaint. Notwithstanding such production, Plaintiff and her counsel have refused to take any
21 action to cure the false allegations contained therein. Therefore, the Complaint is factually
22 baseless from an objective perspective. Additionally, because no evidence exists to support the
23
   false allegations, Plaintiff’s counsel could not have completed a reasonable or competent inquiry
24
25 before filing the Complaint and continued to ignore these obligations even after receiving a
26


                                                  4
             Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 5 of 25




 1 disclosure in support of Defendant's position. Therefore, an award of sanctions against Plaintiff
 2
     and her counsel is appropriate, if not mandatory, under Fed. R. Civ. P. 11(c).
 3
        B. Fed. R. Civ. P. 11 sanctions are the appropriate remedy against Plaintiff and counsel
 4         to deter abuses of the judicial process.
 5
            The main provision of Federal law designed to deter frivolous filings is Fed. R. Civ. P.
 6
     11. The focus of Fed. R. Civ. P. 11 is to emphasize the duty of candor by subjecting litigants to
 7
 8 potential sanctions for insisting upon a position after it is no longer plausible. Young v. Corbin,
 9 889 F. Supp. 582, 585 (N.D.N.Y.1995). The United States Supreme Court makes clear that the
10
   objective of Fed. R. Civ. P. 11 is to deter baseless filings and curb abuses. Bus. Guides, Inc. v.
11
   Chromatic Commc'ns Enterprises, Inc., 498 U.S. 533, 537 (1991); See Fed. R. Civ.
12
13 P. 11(b)(1) (allowing sanctions for filings that “harass, cause unnecessary delay, or needlessly
14 increase the cost of litigation”); Gomez v. Vernon, 255 F.3d 1118, 1133–34 (9th Cir.
15
     2001) (imposing inherent power sanctions for counsel's abusive tactics that resulted in
16
     unnecessary litigation).
17
18          Because the basis of the Plaintiff’s claims materially depends on demonstrably false

19 allegations, the only cognizable purpose for filing a Complaint with such false representations
20
     is to attempt to force IQ Data to settle the litigation based on the inherent expenses associated
21
     with defending against the claims raised. Consequently, Fed. R. Civ. P. 11 sanctions are proper
22
23 to deter filings that are intended to harass, cause unnecessary delay, or needlessly increase the
24 cost of litigation.
25
26


                                                  5
             Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 6 of 25




 1          “If, after notice and a reasonable opportunity to respond, the Court determines that Rule
 2
     11(b) has been violated, the Court may impose an appropriate sanction on any attorney, law firm,
 3
     or party that violated the rule or is responsible for the violation.” Fed. R. Civ. P. 11(c)(1). The
 4
 5 sanction may include reasonable attorney fees, including attorney fees incurred for the motion.
 6 Fed. R. Civ. P. 11(c)(2) and Fed. R. Civ. P. 11(c)(4).
 7
        C. Fed. R. Civ. P. 11 sanctions are the appropriate remedy when the offending party is
 8         provided the 21-day grace period before a motion is filed.
 9          Under Fed. R. Civ. P. 11(c)(2), a party is entitled to a twenty-one (21) day period
10
     following service of a motion for sanctions, to withdraw an offending pleading before it can be
11
     the subject of a sanctions award. IQ Data served this Motion on Plaintiff by email, hand delivery,
12
13 and United States mail more than twenty-one (21) days before filing this Motion. See Exhibit
14 E. Although IQ Data served this Motion on Plaintiff, Plaintiff has failed to cure the violation of
15
     Fed. R. Civ. P. 11. Therefore, Fed. R. Civ. P. 11 sanctions are appropriate because Plaintiff’s
16
     twenty-one (21) day safe-harbor period has expired and Plaintiff has failed to cure the violation.
17
18                                            III.       Conclusion

19          For the reasons set forth above, IQ Data respectfully requests that this Motion be granted
20
     and that the Court enter Orders granting appropriate sanctions in the form, inter alia, of an award
21
     of IQ Data’s attorney fees and costs incurred in connection with Plaintiff’s Complaint, including
22
23 but not limited to the filing and argument of this Motion as well as an order requiring that
24 Plaintiff withdraw or cure the Complaint, along with any further sanctions deemed necessary or
25
     appropriate by the Court to prevent future meritless filings from Plaintiff or her counsel.
26


                                                     6
             Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 7 of 25




 1          RESPECTFULLY SUBMITTED this 26th day of October, 2021.
 2
                          CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
 3
 4
                                           By: /s/ Ember Van Vranken
 5                                             Jonathan D. Ebertshauser, Esq.
                                               Ember Van Vranken, Esq.
 6
                                               1400 E. Southern Ave. Suite 400
 7                                             Tempe, Arizona 85282
                                               Attorneys for Defendant
 8
 9
10
11
12                                   CERTIFICATE OF SERVICE

13          I hereby certify that on this 26th day of October, 2021, I electronically transmitted the
14
     attached document to the Clerk’s Office using the CM/ECF System for filing and transmittal of
15
     a Notice of Electronic Filing to the following registrants:
16
17 Victor T. Metroff, Esq.
   Sulaiman Law Group, Ltd
18 2500 S Highland Ave, Suite 200
19 Lombard, IL 60148
   Telephone: (630) 575-8181
20 vmetroff@sulaimanlaw.com
   Attorney for the Plaintiff
21
22 By: /s/ Theresa Laubenthal
23
24
25
26


                                                  7
Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 8 of 25




          EXHIBIT A
          Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 9 of 25




 PHOENIX AREA                                                                  Ember Van Vranken, Esq.
 1400 East Southern Avenue, Suite 400                                                     Licensed in Arizona
 Tempe, Arizona 85282-5691
 T 480-427-2800                                                           Emberv@carpenterhazlewood.com
 F 480-427-2801                                                                      Direct: 480-427-2884



                                            September 8, 2021

VIA CERTIFIED MAIL, FIRST CLASS MAIL, AND EMAIL
(vmetroff@sulaimanlaw.com)

Victor T. Metroff
Sulaiman Law Group, Ltd
2500 S Highland Ave, Suite 200
Lombard, IL 60148

                  Re: Jernigan v. IQ Data; 4:21-CV-00307-SHR
                      Demand for Dismissal

Dear Victor:

        This law firm has been retained to represent the interests of IQ Data International,
Inc. (“IQ Data”) in the above-referenced case. Our firm has reviewed this file and it is
overwhelmingly apparent that there is no evidence in support of the claims raised in the
Complaint. Accordingly, this correspondence serves as your final opportunity to cure the
deficient filing through the immediate dismissal of the Complaint with prejudice. By
this letter, IQ Data hereby demands that dismissal be filed before Friday, September 10,
2021.

        As you know Fed. R. Civ. P. 11 requires that:

        an attorney . . . certifies that to the best of the person's knowledge,
        information, and belief, formed after an inquiry reasonable under the
        circumstances:
        (1) it is not being presented for any improper purpose, such as to harass,
        cause unnecessary delay, or needlessly increase the cost of litigation;
        (2) the claims, defenses, and other legal contentions are warranted by existing
        law or by a nonfrivolous argument for extending, modifying, or reversing
        existing law or for establishing new law;


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                                 Salt Lake City  San Antonio  San Diego  Tucson

                                           www.carpenterhazlewood.com
                                        T 800-743-9324  F 800-743-0494
       Case 4:21-cv-00307-SHR
CARPENTER,                    Document
              HAZLEWOOD, DELGADO       11LLP
                                 & BOLEN,  Filed 10/27/21 Page 10 of 25
BRITGLOBAL.IQDATA.51
September 8, 2021
Page 2


       (3) the factual contentions have evidentiary support or, if specifically so
       identified, will likely have evidentiary support after a reasonable opportunity
       for further investigation or discovery; and
       (4) the denials of factual contentions are warranted on the evidence or, if
       specifically so identified, are reasonably based on belief or a lack of
       information.

       The lack of evidentiary support and the gross misstatements of the facts in the
Complaint are a clear indication that you have failed to fulfill your obligations in reviewing
the facts of this matter before initiating litigation. As a result, there can be no dispute that
the Complaint has been filed with an improper purpose of harassing our client and
needlessly increasing the costs of litigation. Frankly, we are surprised that your office filed
this Complaint in light of the entirely meritless allegations raised therein, the lack of
evidence to support those allegations, and the blatant misstatements of the facts.

       We appreciate your anticipated cooperation with this demand and I welcome you to
contact me directly with any questions. However, please be advised that in the event that
that your client fails to dismiss this action with prejudice before the deadline set forth
herein, IQ Data intends to vigorously defends against the meritless claims and will seek
any and all appropriate sanctions associated therewith.

                                          Sincerely,


                          Ember Van Vranken, Esq.
                                   for
              CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
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           EXHIBIT B
           Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 12 of 25


From:             Ember Van Vranken
To:               "Victor Metroff"
Cc:               Jonathan Ebertshauser; Theresa Laubenthal; Mohammed Badwan; Michelle Barry
Subject:          RE: Jernigan v. IQ Data - Call recordings
Date:             Monday, September 13, 2021 2:11:00 PM


Hi Victor,

We were hopeful a quick review of the 3 call recordings that are less than 2 minutes in total would
be sufficient to show that there is no evidence or basis to support the claims in the complaint. We
have not received authority to extend the Answer deadline from our client. Thus, at this time, we
plan t file the answer if w to not receive confirmation that the matter will be dismissed today. If we
do receive authority, then we will provide you an update. Please note that because these calls
further support that there is no evidence to support the allegations in the complaint, if we file the
Answer, we may move forward with a Rule 11 Motion.

Sincerely,

Ember



From: Victor Metroff <vmetroff@sulaimanlaw.com>
Sent: Monday, September 13, 2021 1:32 PM
To: Ember Van Vranken <Ember.VanVranken@carpenterhazlewood.com>
Cc: Jonathan Ebertshauser <JonathanE@carpenterhazlewood.com>; Theresa Laubenthal
<theresa@carpenterhazlewood.com>; Mohammed Badwan <mbadwan@sulaimanlaw.com>;
Michelle Barry <mbarry@sulaimanlaw.com>
Subject: RE: Jernigan v. IQ Data - Call recordings

Good afternoon Ember,

Thank you for providing. The time frame of 2:00 p.m. mountain standard time does not provide
enough time to be able to confer with our client and review the documents provided. We have
reached out to our client and have not been able to connect yet.   As discussed on Friday, there is no
objection to extending the time to response to answer deadline by 14 or 21 days.

As soon as we have an opportunity to confer with our client we will be in contact in short order.

Thank you.




Victor T. Metroff
Sulaiman Law Group, Ltd.
Attorneys At Law
2500 S. Highland Ave.
Suite 200
       Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 13 of 25


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Website: AtlasConsumerLaw.com


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tax-related penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending
to another party any transaction or tax related matter(s) addressed therein.




From: Ember Van Vranken <Ember.VanVranken@carpenterhazlewood.com>
Sent: Monday, September 13, 2021 3:02 PM
To: Victor Metroff <vmetroff@sulaimanlaw.com>
Cc: Jonathan Ebertshauser <JonathanE@carpenterhazlewood.com>; Theresa Laubenthal
<theresa@carpenterhazlewood.com>
Subject: Jernigan v. IQ Data - Call recordings

Good afternoon,

Per our discussion last week attached are the three call recordings for this matter. Because these
calls are all less than thirty seconds, we are hopeful that you may be able to provide a prompt reply
with regard to the demand for dismissal before 2:00 PM Mountain Standard Time as we plan to file
the Answer for this matter at that time.
        Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 14 of 25



Also, our client has indicated its intent to move forward with collection for the underlying debt. Will
you be representing Ms. Jernigan in this regard and be permitted to accept service for such action?

Thank you,


Ember Van Vranken, Esq.
Direct: 480-427-2884
Ember.VanVranken@carpenterhazlewood.com
Licensed in AZ

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delete it.

This firm is a debt collector. Any information obtained will be used for that purpose.
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           EXHIBIT C
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 8723435_OUT-5205998668-UNKNOWN-20210715-091508-1626365708.129139
                           Call Recording




                          IQDATA0001
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 8723435_OUT-5205998668-UNKNOWN-20210528-095351-1622220831.2118587
                           Call Recording




                           IQDATA0002
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 8723435_OUT-5205998668-UNKNOWN-20210504-150542-1620165942.1353210
                           Call Recording




                           IQDATA0003
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           EXHIBIT D
               Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 20 of 25

ALEDFWKC 08/10/21 15:37:00       Print Debtor Work Card                       PAGE 1
Clt AVENTURA APTS (AZ)                                    Ac# IQD    WEI155 0008723435
Rf# 60310*2072*T0785608
Nm1 JERNIGAN,AMANDA                  Desk     004Sts PHN Assignd         6736.24
Nm2                                  Assigned    05/03/21 PrincDue       6736.24
Adr 2901 N SWAN RD                   L/Charge    03/08/21 In    .00 %        .00
                                     L/Paymnt             Attorney           .00
     TUCSON, AZ 85712-1222           L/Letter    08/05/21 Court              .00
PhN 520-599-8668                     L/Worked    08/05/21 Other              .00
                                     L/Trust              JudInt             .00
                                     N/Review    08/05/21 Misc               .00
Msg                                                       CntgcyFe           .00
                                                          Tot Due        6736.24
                                                          Tot Paid           .00
------------------------------------ HISTORY -----------------------------------
Date       Time Uid Description                       CR Dsk NxtRv Txt NextLtr Sts
-------- ----- --- -------------------------------- -- --- ----- --- ------- ---
05/03/21 14:57 SAA New Assignment                     Y 955 05/03      1 05/03 NEW
05/03/21 15:04 SAA SCANNED MISC CORRESPONDENCE        Y 955 05/03              NEW
     ATTACHED MISCELLANEOUS DOCUMENTS TO THIS ACCOUNT, PLEASE REVIEW
05/03/21 15:05 SAA SCANNED MISC CORRESPONDENCE        Y 955 05/03              NEW
     ATTACHED MISCELLANEOUS DOCUMENTS TO THIS ACCOUNT, PLEASE REVIEW
05/03/21 15:51 NSS FIX CREDIT REPORTING               Y 955 05/03              NEW
      #TF="Y" #T1=" " #T2=" " #T3=" " #T4=" " #LW="000000"
     UPDATED CREDIT REPORTING
05/03/21 16:42 HIL Dsk Chg:955 To HGH                 Y HGH 05/03      1 05/03 NEW
05/03/21 16:42 HIL Desk Reassignment                  Y HGH 05/03      1 05/03 NEW
05/03/21 16:45 VCS Ltr to 01 INITIAL NOTICE-DBTR 1 Y HGH 05/03 R01 2 05/03 NEW
05/03/21 16:45 VCS Ltr/Ser Completed                  Y HGH 05/03              NEW
05/04/21 00:40 DH Dsk Chg:HGH To 004                  Y 004 05/03              NEW
05/04/21 00:40 DH Desk Reassignment                   Y 004 05/03              NEW
05/04/21 10:34 NJF CML-CHECKED MATCH LIST             Y 004 05/04              NEW
     CML-CHECKED MATCH LIST
05/04/21 10:35 NJF THN-PHONE HOME#, NO MSG LEFT       Y 004 05/04              NEW
     THN-PHONE HOME#, NO MESSAGE LEFT
     8668
05/04/21 13:37 NJF THN-PHONE HOME#, NO MSG LEFT       Y 004 05/04              NEW
     520 599 8668
     THN-PHONE HOME#, NO MESSAGE LEFT
05/04/21 13:38 NJF Demographics Change                Y 004 05/04              NEW
     Name: CHRISTINA PEARSON
     Phn1: 5205487890
     DOB:
     New Name/Address Sequence Number Added: 10.
05/04/21 13:38 NJF CHECKED CLIENT MEDIA               Y 004 05/04              NEW
     CCM-CHECKED CLIENT MEDIA FOR DEBTOR INFORMATION
     1 REF
     NO POE INFO
05/04/21 13:38 NJF TRN-CALLED RELATIVE-NO MSG LFT     Y 004 05/04              NEW
     TRN-PHONE RELATIVE, NO MESSAGE LEFT
     7890
05/04/21 13:39 NJF TRT-CALLED RELATIVE-3RD PARTY      Y 004 05/04              NEW
     TRT-PHONED RELATIVE, 3RD PARTY
     5205487890 ASKED FOR Z WOP LEFT MESS CONFIRMED ZS CELL

                                        IQDATA0004
               Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 21 of 25

ALEDFWKC 08/10/21 15:37:00      Print Debtor Work Card                           PAGE   2
05/04/21 13:39 NJF CHECKED TRANSUNION SEQUENCES      Y 004 05/04                        NEW
    CHECKED TRANSUNION SEQUENCES
    NO S 63
05/04/21 15:05 NJF THN-PHONE HOME#, NO MSG LEFT      Y 004 05/04                        NEW
    THN-PHONE HOME#, NO MESSAGE LEFT
    8668
05/04/21 15:06 NJF TH1-PHONED DEBTOR 1 AT HOME       Y 004 05/04                        NEW
    TH1-PHONED DEBTOR 1 AT HOME:
    8668 id z aor hung up
05/04/21 15:06 NJF Sts Chg:NEW To HUH                Y 004 05/04                        HUH
05/04/21 15:06 NJF HANG UP HOLD                      Y 004 05/11                        HUH
    HUH-DEBTOR HUNG UP ON COLLECTOR...DO NOT CALL 7 DAYS
05/04/21 15:40 NSS Demographics Change               Y 004 05/11                        HUH
    Addr1 Chg:1700 W PRINCE RD APT 2072 TO 2901 N SWAN RD
    ZipCd Chg:85705 TO 85712-1222
    MR Flag Chg: TO N
    Phn2 Chg: TO 0000000000
    Sequence# 01
05/04/21 15:40 NSS *NCOA ADDRESS UPDATED*            Y 004 05/11                        HUH
     #LW="153526" #RV="153533"
    **THE ADDRESS FOR CONSUMER HAS BEEN UPDATED OR CONFIRMED**
05/07/21 05:55 HIL SCANNED MISC CORRESPONDENCE       Y 004 05/11                        HUH
    ATTACHED MISCELLANEOUS DOCUMENTS TO THIS ACCOUNT, PLEASE REVIEW
05/11/21 09:52 VCS Sts Chg:HUH To PHN                Y 004 05/11                        PHN
05/11/21 09:52 VCS NO RESOLUTION                     Y 004 05/11                        PHN
     #ST="HUH" #LW="153526"
    NRS-SPOKE TO DEBTOR NO RESOLUTION ON CALL
05/17/21 12:44 NJF THN-PHONE HOME#, NO MSG LEFT      Y 004 05/17                        PHN
    8668
    THN-PHONE HOME#, NO MESSAGE LEFT
05/28/21 09:54 NJF TH1-PHONED DEBTOR 1 AT HOME       Y 004 05/28                        PHN
    TH1-PHONED DEBTOR 1 AT HOME:
    8668 ID Z HU
06/01/21 09:46 NJF THN-PHONE HOME#, NO MSG LEFT      Y 004 06/01                        PHN
    THN-PHONE HOME#, NO MESSAGE LEFT
    8668
06/09/21 13:55 NJF THN-PHONE HOME#, NO MSG LEFT      Y 004 06/09                        PHN
    8668
    THN-PHONE HOME#, NO MESSAGE LEFT
07/08/21 09:05 NJF THN-PHONE HOME#, NO MSG LEFT      Y 004 07/08                        PHN
    8668
    THN-PHONE HOME#, NO MESSAGE LEFT
07/15/21 09:15 NJF TH1-PHONED DEBTOR 1 AT HOME       Y 004 07/15                        PHN
    TH1-PHONED DEBTOR 1 AT HOME:
    8668 ID Z HU
07/22/21 10:23 PIB THN-PHONE HOME#, NO MSG LEFT      Y 004 07/22                        PHN
    THN-PHONE HOME#, NO MESSAGE LEFT
    8668
07/29/21 16:59 BJT THN-PHONE HOME#, NO MSG LEFT      Y 004 07/29                        PHN
    8668
    THN-PHONE HOME#, NO MESSAGE LEFT
08/05/21 10:51 PXC COMPLIANCE DEPT REVIEW            D 004 08/05                        PHN
    THE COMPLIANCE DEPARTMENT HAS REVIEWED THIS FILE

                                        IQDATA0005
               Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 22 of 25

ALEDFWKC 08/10/21 15:37:00     Print Debtor Work Card                            PAGE   3
    RCVD CONSUMER DISPUTE VERIFICATION FROM TRANSUNION,
    Z1 AMANDA DISPUTES 104 FRAUDLENT CHARGES MADE ON THE ACCOUNT- REQ
    TO VERIFY ALL ACC INFO
    FCRA STATES :Times Disputed In Last 120 Days 0
    NO IMAGE ON FILE
    VERIFIED ID BALANCE AND DOCS
    d07 queued as per dispute
    LAST NAME IS DIFF
    cn NO 413823015015002
08/05/21 10:51 PXC RCVD CDV FRM TRANSUNION          D 004 08/05                         PHN
08/05/21 10:51 PXC Ltr to 01 DIS/FCRA-REPEAT RQ SNT D 004 08/05 D07                     PHN
08/09/21 05:39 HIL SCANNED MISC CORRESPONDENCE      D 004 08/05                         PHN
    ATTACHED MISCELLANEOUS DOCUMENTS TO THIS ACCOUNT, PLEASE REVIEW

 ** End of Report **




                                        IQDATA0006
Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 23 of 25




           EXHIBIT E
            Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 24 of 25




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           emberv@carpenterhazlewood.com
 6            BRITGLOBAL.IQDATA.51
                 Attorneys for Defendant
 7
 8                              UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA

10    Amanda N. Jernigan,                               CASE NO.: 4:21-cv-00307-SHR
11
12                         Plaintiff(s),
                                                             CERTIFICATE OF SERVICE
13    vs.
14
15                                                      (Assigned to the Honorable Scott H. Rash)
      IQ Data International, Inc.,
16
17                         Defendant.

18
            Defendant, IQ Data International, Inc., by and through undersigned counsel, certify that a
19 copy of the Rule 11 Motion for Sanctions was served on counsel for Plaintiff, Amanda N. Jernigan,
20 pursuant to Fed. R. Civ. P. 5 on October 4, 2021.
21          ///
22          ///
23          ///
24
25
                                                    1
26
     Case 4:21-cv-00307-SHR Document 11 Filed 10/27/21 Page 25 of 25




 1   Method of Service:
 2   Via Email, US and Certified Mail to:
 3         Victor T. Metroff
 4         Sulaiman Law Group, Ltd
           2500 S. Highland Avenue, Suite 200
 5         Lombard, Illinois 60148
           vmetroff@sulaimanlaw.com
 6
     DATED this 26th day of October, 2021.
 7
 8                CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
 9
10                                 By: /s/ Ember Van Vranken
11                                     Jonathan D. Ebertshauser, Esq.
                                       Ember Van Vranken, Esq.
12                                     1400 E. Southern Ave. Suite 400
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